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                     thdIN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Chicago Alliance against Racist and Political
Repression, Anti-War Coalition, Students for a
Democratic Society at UIC and United States
Palestinian Community Network,

                      Plaintiffs,                      Case No. 24-cv-02347

v.                                                     Judge Andrea R. Wood

City of Chicago, an Illinois Municipal Corporation,    Magistrate Judge David Weisman
and Tom Carney, solely in his capacity as
Commissioner of the Chicago Department of
Transportation,

                      Defendants.


  PLAINTIFF’S NOTICE OF WITHDRAWAL OF EMERGENCY MOTION FOR
PRELIMINARY INJUNCTIVE RELIEF REGARDING CITY’S PARTIAL DENIAL OF
        PERMIT TO PLAINTIFF CAARPR FOR USE OF UNION PARK

       Plaintiff Chicago Alliance Against Racist and Political Repression (“CAARPR”), through

its counsel, hereby notifies the Court that it formally withdraws its emergency motion for

injunctive relief regarding the Defendants’ partial denial of permits to CAARPR for use of Union

Park (ECF No. 43) pursuant to certain assurances made to Plaintiff by the counsel for Defendants.



                                                      Respectfully submitted,
Dated: August 16, 2024

                                                      /s/Christopher J. Williams
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